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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________

MARIE KEIFMAN,

                                    Plaintiff,
      v.                                                   Civil Action No. ___________

MERCANTILE ADJUSTMENT BUREAU, LLC

                              Defendant.
________________________________________



                    COMPLAINT AND DEMAND FOR JURY TRIAL

                                    I. INTRODUCTION

   1. This is an action for actual and statutory damages brought in response to Defendant’s
      violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter
      "FDCPA") which prohibits debt collectors from engaging in abusive, deceptive, and
      unfair practices, and the Telephone Consumer Protection Act of 1991 (hereinafter
      referred to as the “TCPA”).


                                 II. JURISDICTION AND VENUE

   2. Jurisdiction of this court arises under 15 U.S.C. §1692k(d), 28 U.S.C. § 1331, and 28
      U.S.C. § 1337.

   3. That Plaintiff’s cause of action under the TCPA is predicated upon the same facts and
      circumstances that give rise to their federal cause of action. As such, this Court has
      supplemental jurisdiction over Plaintiff’s TCPA causes of action pursuant 28 U.S.C.
      §1367.

   4. Venue is proper in this district under 28 U.S.C. §1391(b) in that the Defendant transacts
      business here and the conduct complained of occurred here.

                                          III. PARTIES

   5. Plaintiff, Marie Keifman, is a natural person residing in the County of Erie and State of
      New York and is a “consumer” as that term is defined by 15 U.S.C. §1692a(3).




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6. Defendant, Mercantile Adjustment Bureau, LLC (Mercantile), is a domestic limited
   liability company organized and existing under the laws of the State of New York and is
   a “debt collector” as that term is defined by 15 U.S.C. §1692a(6).

7. That at all times relevant herein, Plaintiff was and is a “person” as defined by 47
   U.S.C.§153(32).

8. That Defendant, at all times relevant herein, owned, operated and/or controlled “customer
   premises equipment” as defined by 47 U.S.C.§153(14), that originated, routed, and/or
   terminated telecommunications.

9. That at all times relevant herein, Defendant has used the United States mail service,
   telephone, telegram and other instrumentalities of interstate and intrastate commerce to
   attempt to collect consumer debt allegedly owed to another.

10. That Defendant, at all times relevant herein, engaged in “interstate communications” as
    that term is defined by 47 U.S.C.§153(22).

11. That Defendant, at all times relevant herein, engaged in “telecommunications” as defined
    by 47 U.S.C.§153(43).

12. That Defendant, at all times relevant herein, used, controlled and/or operated “wire
    communications” as defined by TCPA, 47 U.S.C.§153(52), that existed as
    instrumentalities of interstate and intrastate commerce.

13. That Defendant, at all relevant times herein, used, controlled and/or operated “automatic
    telephone dialing systems” as defined by TCPA, 47 U.S.C.§227(a)(1) and 47 C.F.R.
    64.1200(f)(1).

14. The acts of the Defendant alleged hereinafter were performed by its employees acting
    within the scope of their actual or apparent authority.

15. Defendant regularly attempts to collect debts alleged to be due another.

16. All references to “Defendant” herein shall mean the Defendant or an employee of said
    Defendant.



                           IV. FACTUAL ALLEGATIONS


17. That Plaintiff has not incurred a consumer debt. A person named “Kristen” allegedly
    incurred a consumer debt. This debt will be referred to as the “subject debt.”




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18. That the subject debt arose out of a transaction in which money, services or property,
    which was the subject of the transaction, was primarily for personal, family and/or
    household purposes. As such, said debt is a “debt” as that term is defined by 15 U.S.C.
    §1692a(5).

19. That “Kristen” thereafter allegedly defaulted on subject debt.

20. That upon information and belief, Defendant was employed by the original creditor or
    current account holder to collect on the subject debt.

21. That Defendant began calling Plaintiff’s cellular telephone in an attempt to collect the
    subject debt in July of 2013 looking for “Kristen.” From that time through present,
    Defendant called Plaintiff’s cellular telephone an excessive number of times. These calls
    were made multiple times per week, and often multiple times per day.

22. That between July and November of 2013, the Defendant made several telephone calls to
    Plaintiff’s cellular telephone, wherein they left an artificial and/or prerecorded voice
    message requesting return of their telephone call.

23. That Plaintiff called the Defendant back on multiple occasions and informed the
    Defendant that they had the wrong person and requested that the Defendant cease and
    desist from any further telephone calls to her cellular telephone.

24. That despite these multiple requests to cease calling her cellular telephone, Defendant
    continued to call the Plaintiff’s cellular telephone.

25. That upon information and belief, Defendant initiated most, if not all of the telephone
    calls described herein using an automated telephone dialing system and/or transmitted
    prerecorded voice messages and/or transmitted messages using an artificial voice.

26. That Defendant’s telephone calls described herein were made without the express consent
    of Plaintiff and/or after her oral requests that they stop calling her.


27. That as a result of Defendant’s acts Plaintiff became nervous, upset, anxious, and
    suffered from emotional distress.


                                   V. COUNT ONE
                           (Fair Debt Collection Practices Act
                              and 15 U.S.C. §1692 et seq.)

28. Plaintiff repeats, re-alleges and incorporates by reference the allegations contained in
    paragraphs 1 through 27 above.




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29. The conduct of Defendant as described in this complaint violated the Fair Debt
    Collection Practices Act (15 U.S.C. §1692 et seq.) as follows:

30. Defendant violated 15 U.S.C. §1692d and 15 U.S.C. §1692d(5) by continuing to call the
    Plaintiff despite being informed that the number the Defendant was calling was not a
    good contact number for “Kristen.”

31. That as a result of the Defendant’s FDCPA violations as alleged herein, Plaintiff became
    nervous, upset, anxious and suffered from emotional distress.

                                  VI. COUNT TWO
                      (Telephone Consumer Protection Act of 1991
                             and 47 C.F.R.64.1200, et seq.)

32. Plaintiff repeats, realleges and incorporates by reference the preceding and succeeding
    paragraphs in this complaint as if each of them was reprinted herein below.

33. The Defendant at all times material and relevant hereto, unfairly, unlawfully,
    intentionally, deceptively and/or fraudulently violated the TCPA, 47 U.S.C.§227, et seq.
    and 47 C.F.R.14.1200, et seq. and TCPA, 47 U.S.C.§227(b)(1)(A)(iii) by initiating
    telephone calls to Plaintiffs cellular telephone using an automated telephone dialing
    system and/or using an artificial and/or prerecorded voice to deliver messages without
    having the consent of Plaintiff to leave such messages and/or after Plaintiff revoked said
    consent.

34. The acts and/or omissions of the Defendant at all times material and relevant hereto, as
    described in this Complaint, were done unfairly, unlawfully, intentionally, deceptively
    and fraudulently and absent bona fide error, lawful right, legal defense, legal justification
    or legal excuse.

35. The acts and/or omissions of the Defendant at all times material and relevant hereto, as
    described in this Complaint, were not acted or omitted pursuant to 47
    C.F.R.§64.1200(f)(2).

36. As a causally-direct and legally proximate result of the above violations of the TCPA, the
    Defendant at all times material and relevant hereto, as described in this Complaint,
    caused the Plaintiff to sustain damages as a result of their innumerable telephone calls
    that harassed, annoyed and abused Plaintiff, and disturbed her peace and tranquility at
    home and elsewhere.

37. As a causally-direct and legally proximate result of the above violations of the TCPA, the
    Defendant at all times material and relevant hereto, as described in this Complaint,
    caused the Plaintiff to sustain damages and experience severe emotional distress.




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   38. As a causally-direct and legally proximate result of the above violations of the TCPA, the
       Defendant at all times material and relevant hereto, as described in this Complaint, is
       liable to actual damages, statutory damages, treble damages, and costs and attorneys fees.

   39. Plaintiff received multiple telephone calls from an automatic telephone dialing system
       and/or an artificial and/or prerecorded voice entitling Plaintiff to Five Hundred Dollars
       and No Cents ($500.00) for each artificial and/or prerecorded telephone call pursuant to
       the TCPA, 47 U.S.C.§227(b)(3)(B).

   40. The Defendant caused said telephone calls of an artificial and/or prerecorded nature to be
       placed willfully and/or knowingly entitling each Plaintiff to a maximum of treble
       damages, pursuant to TCPA, 47 U.S.C.§227(b)(3)

WHEREFORE, Plaintiff respectfully requests that judgment be entered against the Defendants
for:
     (a) Actual damages;

      (b) Statutory damages pursuant to 15 U.S.C. §1692k and 47 U.S.C.§223(b)(3)(B).

      (c) Treble statutory damages pursuant to 47 U.S.C. §227b(3).

      (d) Costs, disbursements and reasonable attorney's fees pursuant to 15 U.S.C. § 1692k.

      (e) For such other and further relief as may be just and proper.


                                     VII. JURY DEMAND

              Please take notice that Plaintiff demands trial by jury in this action.


Dated: November 18, 2013

                                                              s/Seth J. Andrews
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